Case 1:19-cv-01385-LPS Document 8 Filed 10/07/19 Page 1 of 1 PagelD #: 92

FARNAN..

October 7, 2019

VIA E-FILING

The Honorable Leonard P. Stark
United States District Court
District of Delaware

844 N. King Street, Room 6124
Wilmington, DE 19801-3555

Re: = Eric Sabatini v. Del Frisco’s Restaurant Group, et al., No. 19-cv-1385-LPS
Dear Chief Judge Stark,

We represent FNY Partners Fund LP (“FNY”) in the above-captioned action, and write
regarding Plaintiff's Notice of Voluntary Dismissal pursuant to Federal Rule 41(a)(1)(A)@)._ DT.
7.

As background, on July 25, 2019, plaintiff Eric Sabatini commenced this action asserting
claims pursuant to Sections 14(a) and 20(a) of the Securities Exchange Act of 1934. D.I. 1. On
July 31, 2019, Mr. Sabatini’s counsel, Rigrodsky & Long, P.A., published a notice pursuant to the
Private Securities Litigation Reform Act of 1995 setting a deadline of September 30, 2019 for
putative class members to file a motion seeking appointment as lead plaintiff. D.I. 5, Ex. D. On
September 30, 2019, FNY filed a motion for appointment as lead plaintiff and approval of its
selection of lead counsel and liaison counsel. D.I. 3.

As the Court is aware, Mr. Sabatini filed a Notice of Voluntary Dismissal. D.I. 7. FNY
respectfully submits that the filing of that Notice moots the lead plaintiff motion process and

FNY’s pending motion for appointment as lead plaintiff.

Weare available should Your Honor have any questions.

Respectfully submitted,
/s/ Brian E. Farnan
Brian Farnan

cc: All counsel of record (via ECF)

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